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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

PABLO RINCON-MARIN, on behalf          :
of himself and all other similarly     :
situated consumers,                    :        No. 3:17-cv-00007 (VLB)
       Plaintiff,                      :
                                       :
      v.                               :         July 30, 2018
                                       :
CREDIT CONTROL LLC,                    :
     Defendant.                        :
                                       :
                                       :

      ORDER CERTIFYING CLASS AND APPROVING CLASS SETTLEMENT

      Before the Court is a request for final certification of a class and approval

of class settlement. This action was commenced on January 3, 2017 by a

complaint filed by Plaintiff, Pablo Rincon-Marin (hereinafter “Plaintiff” or "Lead

Plaintiff"), on behalf of himself and all other similarly situated consumers,

alleging Credit Control LLC (hereinafter “Defendant”) sent consumers a

misleading notice in violation of the Fair Debt Collection Practices Act, 15 U.S.C.

§1692 et seq. (hereinafter “FDCPA"). On October 29, 2017 the parties filed their

Joint Motion to Certify Class. [Dkt. No. 27]. The proposed class consisted of:


      All consumers nationwide who were sent collection letters and/or notices
      from Defendant attempting to collect a consumer debt wherein said
      collection letters state both that “Please note that a negative credit bureau
      report reflecting on your credit record may be submitted to a credit
      reporting agency by the current account owner if you fail to fulfill the terms
      of your credit obligations. This notice in no way affects any rights you may
      have,” and “The law limits how long you can be sued on a debt. Because of
      the age of your debt, (LVNV Funding LLC) will not sue you for it and (LVNV)
      Funding LLC will not report it to any credit reporting agency,” since
      January 3, 2016 through October 26, 2017.
      [Dkt. No. 27-1, ¶ 4(a)].
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       On February 23, 2018 the Court issued its Order Certifying Class and

Preliminarily Approving Settlement Agreement (hereinafter the "Order"). [Dkt. No.

31]. The Order scheduled a fairness hearing for July 26, 2018 at 10:00 a.m

(hereinafter “Fairness Hearing”).   [Dkt. Nos. 37 & 38].


       Pursuant to this Court's Order the parties submitted their Joint Report of

Class Notification. [Dkt. No. 33]. Their submission included the Affidavit of Bailey

Hughes, Case Manager at First Class, Inc., the Claims Administrator (hereinafter

"Hughes Affidavit"). [Dkt. No. 33, Exhibit A].


       Counsel for the parties appeared at the Fairness Hearing on July 26, 2018.

The hearing was convened at approximately 10:00a.m. No class members or

members of the public appeared. The Court inquired of the parties concerning

certain aspects of the proposed settlement and the class member response.

Class Counsel, Attorney Zemel, informed the Court on the record of the special

circumstances entitling the Class Representative to an incentive award, which

circumstances were the Class Representative’s active and effective involvement

in the litigation, including his participation in settlement negotiations and

preparation for submission to a deposition which was obviated by the parties’

proposed settlement. Said Class Counsel also represented to the Court that opt-

in by approximately 10% of the class members is customary in FDCPA cases,

supporting the adequacy of the settlement amount. [Fairness Hearing, Dkt. No.

38].


       Based on the record as a whole, the Court makes the following findings:
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1.          The class consists of 1,811 individuals, satisfying the numerosity

            standard. [Hughes Affidavit, ¶ 7].

2.          The claims of all the class members rest on common questions of

            law and fact, in that all class members received the same letter

            containing assertedly misleading statements.

3.          The Class Representative received the same letter as all other

            class members.

4.          The Class Representative has no claims and is subject to no

            defenses distinguishing him from other class members and thus

            is a typical class member.

5.          Common questions of fact and law predominate.

6.          Class resolution is superior in that it avoids inconsistent verdicts

            and legal standards and promotes judicial efficiency.

7.          Class Counsel is highly experienced and has achieved a prompt

            resolution.

8.          The Class Representative is a Connecticut resident, which makes

            this forum desirable.

9.          There have been no individual lawsuits filed against Defendant

            regarding the conduct alleged in the instant action. [Dkt. No. 27-1,

            at 9-10].

10.         The notice mailed to class members was given in the manner and

            time specified by the Court in the Order. [Hughes Affidavit, ¶ 6-7].
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11.          As of the date of the Fairness Hearing no objections had been

            received by the Claims Administrator. [Hughes Affidavit, ¶ 11].

12.         As of the date of the Fairness Hearing only three (3) requests to

            be excluded from the class and settlement had been received by

            the Claims Administrator. [Hughes Affidavit, ¶ 12].

13.         The Court has received no objection, request for exclusion or

            other communication from any class member.

14.         183 class members opted-into the class, representing slightly

            more than 10.0% of the class. [Fairness Hearing, Dkt. No. 38].

15.         Although recoveries total far less than 1% of Defendant's net

            worth, a $40 recovery by each class member compares favorably

            with recoveries in class actions generally and the low percentage

            is largely due to the paltry class member response (approximately

            10%) which is nonetheless typical in FDCPA cases and suggests

            the settlement is adequate.

16.         Payment to Class Counsel of $18,500 attorneys’ fees and $535

            class administrative costs is reasonable.

17.         The Class Representative’s statutory damages pursuant to 15

            U.S.C. § 1692k(a)(2)(B)(i) of $1,000.00 plus an additional $1,500 in

            recognition of his service to the Settlement Class are reasonable

            and permitted by statute. See Babcock v. C. Tech Collections,

            Inc., 1:14-CV-3124(MDG), 2:14-CV-3576 (MDG), 2017 WL 1155767

            at *8 (E.D.N.Y. March 27, 2017).
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      WHEREFORE, the Court hereby certifies the class; finds the settlement is

fair, adequate, and reasonable; and approves the settlement. Judgment is

entered in accordance with the parties' settlement without admission of

wrongdoing by the Defendant. The Defendant is ordered to make payment as

specified in the proposed settlement hereby approved. Within 120 days of the

date of this order, Class Counsel shall file with this court the report of the Claims

Administrator and such other report(s) necessary to demonstrate that

distributions to the class members, Lead Plaintiff, Class Counsel and the Claims

Administrator have been made in accordance with the settlement and this order.


      IT IS SO ORDERED at Hartford, Connecticut this 30th day of July, 2018.


                                                                   Vanessa Bryant
                                                                   2018.07.30 10:35:50 -04'00'
                                                    _____________________
                                                    Vanessa L. Bryant
                                                    United States District Judge
